                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      NO. 3:10-00004
                                                )      JUDGE CAMPBELL
KATHY MEDLOCK                                   )

                                        ORDER

     Pending before the Court is a Motion for Leave to File Under Seal (Docket No. 144). The

Motion is GRANTED.

     Also pending is the under seal Motion (Docket No. 145). The Motion is GRANTED.

     It is so ORDERED.



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                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




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